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Db be:
Celebrating 30 Years
Building Better Lives

 

 

Meyer Mental Health Shelter
600E 125" Street

New York, New York 10035

11/5/19/19

To Whom it may concern

Following are a list of medications that are being taken by Riger Mayan Duenas, a
resident at the Meyer Men’s Shelter. Room 865 bed 864. Fluoxetine 20mg 1 tab by mouth nightly,
bupropion 150mg 1 tab by mouth daily, mirtazapine 45mg 1 tab by mouth daily, fluticasone 50mcg nasal
spray. Mr. Mayan Duenas is compliant with his medications. If any more information is necessary,
please feel free to contact any of the following staff of the medication room. Alexander Niles LPN, Erica
Kelly med. Coordinator, Denise James med. Coordinator. The office number is (646)905-3428. To reach
LPN directly (646) 905-3433

Sincerely,

Denise James
